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                                  6
                                       and Proposed Class
                                  7
                                                                     UNITED STATES DISTRICT COURT
                                  8
                                                           FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                  9
                                 10    BRETT DESALVO, individually and on               CASE NO.:
                                       behalf of all others similarly situated,
                                 11                                                               CLASS ACTION COMPLAINT
                                                             Plaintiff,
                                                                                             1.   VIOLATIONS OF THE AMERICANS
                                 12
                                              v.                                                  WITH DISABILITIES ACT OF 1990, 42
                                 13                                                               U.S.C. §12181
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                                                                                             2.   VIOLATIONS OF THE UNRUH CIVIL
                                 14    KFC CORPORATION, a Delaware                                RIGHTS ACT
                                       corporation; and DOES 1 to 10, inclusive,                  DEMAND FOR JURY TRIAL
                                 15
                                                                 Defendants.
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                                 18
                                 19           Plaintiff Brett DeSalvo (“Plaintiff”), individually and on behalf of all others similarly

                                 20    situated, brings this action based upon personal knowledge as to himself and his own acts, and as

                                 21    to all other matters upon information and belief, based upon, inter alia, the investigations of their

                                 22    attorneys.

                                 23                                       NATURE OF THE ACTION
                                 24           1.      Plaintiff is a visually-impaired and legally blind person who requires screen-
                                 25    reading software to read website content using his computer. Plaintiff uses the terms “blind” or
                                 26    “visually-impaired” to refer to all people with visual impairments who meet the legal definition
                                 27    of blindness in that they have a visual acuity with correction of less than or equal to 20 x 200.
                                 28    Some blind people who meet this definition have limited vision. Others have no vision.
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                                                          CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL
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                                  1           2.      Plaintiff, individually and on behalf of those similarly situated persons (hereafter

                                  2    “Class Members”), bring this Class Action to secure redress against Defendant KFC Corporation

                                  3    (“Defendant”) and DOES 1-10, for its failure to design, construct, maintain, and operate its

                                  4    website to be fully and equally accessible to and independently usable by Plaintiff and other blind

                                  5    or visually-impaired people. Defendants’ denial of full and equal access to its website, and

                                  6    therefore denial of its products and services offered thereby and in conjunction with its physical

                                  7    locations, is a violation of Plaintiffs’ rights under the Americans with Disabilities Act (“ADA”)

                                  8    and California’s Unruh Civil Rights Act (“UCRA”).

                                  9           3.      Because Defendants’ website,           https://www.kfc.com/ (the “Website” or

                                 10    “Defendant’s website”), is not fully or equally accessible to blind and visually-impaired

                                 11    consumers in violation of the ADA, Plaintiff seeks a permanent injunction to cause a change in

                                 12    Defendant’s corporate policies, practices, and procedures so that Defendant’s website will

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                                       become and remain accessible to blind and visually-impaired consumers.
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                                 14                                             THE PARTIES

                                 15           4.      Plaintiff, at all times relevant and as alleged herein, is a resident of the County of

                                 16    Los Angeles. Plaintiff is a legally blind, visually-impaired handicapped person, and member of a

                                 17    protected class of individuals under the ADA, pursuant to 42 U.S.C. § 12102(1)-(2), and the

                                 18    regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

                                 19           5.      Defendant is a Delaware corporation, with its headquarters in Louisville,
                                 20    Kentucky. Defendant’s servers for the website are in the United States. Defendant conducts a

                                 21    large amount of its business in California, and the United States as a whole. These restaurants

                                 22    constitute places of public accommodation. Defendant’s restaurants provide to the public

                                 23    important goods and services. Defendant’s website provides consumers with access to restaurant

                                 24    locations, promotions, a variety of chicken including Kentucky grilled chicken, smoky mountain

                                 25    bbq, original recipe, extra crispy, pop corn, tenders, Nashville hot, Georgia Gold; sides including

                                 26    green beans, cole slaw, mac and cheese, corn, mashed potatoes and gravy, potato wedges, biscuits,

                                 27    pot pie, famous bowl; deserts including cookies Cinnabon dessert biscuits and cakes which are

                                 28    available online and in restaurant locations for purchase.
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                                  1           6.      Plaintiff is unaware of the true names, identities, and capacities of the defendants

                                  2    sued herein as DOES 1 to 10. Plaintiff will seek leave to amend this complaint to allege the true

                                  3    names and capacities of DOES 1 to 10 if and when ascertained. Plaintiff is informed and believes,

                                  4    and thereupon alleges, that each Defendant sued herein as a DOE is legally responsible in some

                                  5    manner for the events and happenings alleged herein and that each of Defendant sued herein as a

                                  6    DOE proximately caused injuries and damages to Plaintiff as set forth below.

                                  7           7.      Defendant’s restaurants are public accommodations within the definition of Title

                                  8    III of the ADA, 42 U.S.C. § 12181(7). https://www.kfc.com/ is a service, privilege, or advantage

                                  9    of Defendant’s services and product and locations.

                                 10                                    JURISDICTION AND VENUE

                                 11           8.      This Court has subject matter jurisdiction over the state law claims alleged in this

                                 12    Complaint pursuant to the Class Action Fairness Act, 28 U.S.C. §1332(d)(2)(A) because: (a) the

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                                       matter in controversy exceeds the sum of $5 million, exclusive of interest and costs; and (b) some
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                                 14    of the class members are citizens of a state (California) that is different from the state of

                                 15    citizenship of Defendant (Kentucky).

                                 16           9.      Defendant is subject to personal jurisdiction in this District. Defendant has been

                                 17    and is committing the acts or omissions alleged herein in the Central District of California that

                                 18    caused injury, and violated rights prescribed by the ADA and UCRA, to Plaintiff and to other

                                 19    blind and other visually impaired-consumers. A substantial part of the acts and omissions giving
                                 20    rise to Plaintiffs’ claims occurred in the Central District of California. Specifically, on several

                                 21    separate occasions, Plaintiff has been denied the full use and enjoyment of the facilities, goods,

                                 22    and services of Defendant’s website in Los Angeles County. The access barriers Plaintiff has

                                 23    encountered on Defendant’s website have caused a denial of Plaintiffs’ full and equal access

                                 24    multiple times in the past, and now deter Plaintiff on a regular basis from accessing Defendant’s

                                 25    website. Similarly, the access barriers Plaintiff has encountered on Defendant’s website have

                                 26    impeded Plaintiffs’ full and equal enjoyment of goods and services offered at Defendant’s brick-

                                 27    and mortar restaurants.

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                                  1             10.        This Court also has subject-matter jurisdiction over this action pursuant to 28

                                  2    U.S.C. § 1331 and 42 U.S.C. § 12181, as Plaintiffs’ claims arise under Title III of the ADA, 42

                                  3    U.S.C. § 12181, et seq., and 28 U.S.C. § 1332.

                                  4             11.        This Court has personal jurisdiction over Defendant because it conducts and

                                  5    continues to conduct a substantial and significant amount of business in the State of California,

                                  6    County of Los Angeles, and because Defendant's offending website is available across California.

                                  7             12.        Venue is proper in the Central District of California pursuant to 28 U.S.C. §1391

                                  8    because Plaintiff resides in this District, Defendant conducts and continues to conduct a

                                  9    substantial and significant amount of business in this District, Defendant is subject to personal

                                 10    jurisdiction in this District, and a substantial portion of the conduct complained of herein occurred

                                 11    in this District.

                                 12              THE AMERICANS WITH DISABILITIES ACT AND THE INTERNET

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                                                13.        The Internet has become a significant source of information, a portal, and a tool
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                                 14    for conducting business, doing everyday activities such as shopping, learning, banking,

                                 15    researching, as well as many other activities for sighted, blind and visually-impaired persons

                                 16    alike.

                                 17             14.        In today's tech-savvy world, blind and visually-impaired people have the ability to

                                 18    access websites using keyboards in conjunction with screen access software that vocalizes the

                                 19    visual information found on a computer screen. This technology is known as screen-reading

                                 20    software. Screen-reading software is currently the only method a blind or visually-impaired

                                 21    person may independently access the internet. Unless websites are designed to be read by screen-

                                 22    reading software, blind and visually-impaired persons are unable to fully access websites, and the

                                 23    information, products, and services contained thereon.

                                 24             15.        Blind and visually-impaired users of Windows operating system-enabled

                                 25    computers and devices have several screen-reading software programs available to them. Some

                                 26    of these programs are available for purchase and other programs are available without the user

                                 27    having to purchase the program separately. Job Access With Speech, otherwise known as

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                                  1    “JAWS,” is currently the most popular, separately purchased and downloaded screen-reading

                                  2    software program available for a Windows computer.

                                  3             16.   For screen-reading software to function, the information on a website must be

                                  4    capable of being rendered into text. If the website content is not capable of being rendered into

                                  5    text, the blind or visually-impaired user is unable to access the same content available to sighted

                                  6    users.

                                  7             17.   The international website standards organization, the World Wide Web

                                  8    Consortium, known throughout the world as W3C, has published Success Criteria for version 2.0

                                  9    of the Web Content Accessibility Guidelines ("WCAG 2.0" hereinafter). WCAG 2.0 are well-

                                 10    established guidelines for making websites accessible to blind and visually-impaired people.

                                 11    These guidelines are adopted, implemented and followed by most large business entities who

                                 12    want to ensure their websites are accessible to users of screen-reading software programs. Though

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                                       WCAG 2.0 has not been formally adopted as the standard for making websites accessible, it is
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                                 14    one of, if not the most, valuable resource for companies to operate, maintain, and provide a

                                 15    website that is accessible under the ADA to the public.

                                 16             18.   Within this context, the Ninth Circuit has recognized the viability of ADA claims

                                 17    against commercial website owners/operators with regard to the accessibility of such websites.

                                 18    Robles v. Domino’s Pizza, LLC, Docket No. 17-55504 (9th Cir. Apr 13, 2017), Court Docket No.

                                 19    BL-66. This is in addition to the numerous courts that already recognized such application.

                                 20             19.   Each of Defendant’s violations of the Americans with Disabilities Act is likewise

                                 21    a violation of the Unruh Civil Rights Act. Indeed, the Unruh Civil Rights Act provides that any

                                 22    violation of the ADA constitutes a violation of the Unruh Civil Rights Act. Cal. Civ. Code, §

                                 23    51(f).

                                 24             20.   Further, Defendant’s actions and inactions denied Plaintiff full and equal access to

                                 25    their accommodations, facilities, and services. A substantial motivating reason for Defendant to

                                 26    deny Plaintiff access was the perception of Plaintiffs’ disability. Defendants’ denial of Plaintiffs’

                                 27    accessibility was a substantial motivating reason for Defendant’s conduct. Plaintiff was harmed

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                                  1    due to Defendant’s conduct. Defendant’s actions and inactions were a substantial factor in

                                  2    causing the lack of access to Plaintiff. Unruh Civil Rights Act. Cal. Civ. Code, § 51.

                                  3           21.     Inaccessible or otherwise non-compliant websites pose significant access barriers

                                  4    to blind and visually-impaired persons. Common barriers encountered by blind and visually

                                  5    impaired persons include, but are not limited to, the following:

                                  6                   a. A text equivalent for every non-text element is not provided;

                                  7                   b. Title frames with text are not provided for identification and navigation;

                                  8                   c. Equivalent text is not provided when using scripts;

                                  9                   d. Forms with the same information and functionality as for sighted persons are

                                 10                       not provided;

                                 11                   e. Information about the meaning and structure of content is not conveyed by

                                 12                       more than the visual presentation of content;

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                                                      f. Text cannot be resized without assistive technology up to 200 percent without
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                                 14                       loss of content or functionality;

                                 15                   g. If the content enforces a time limit, the user is not able to extend, adjust or

                                 16                       disable it;

                                 17                   h. Web pages do not have titles that describe the topic or purpose;

                                 18                   i. The purpose of each link cannot be determined from the link text alone or from

                                 19                       the link text and its programmatically determined link context;

                                 20                   j. One or more keyboard operable user interface lacks a mode of operation where

                                 21                       the keyboard focus indicator is discernible;

                                 22                   k. The default human language of each web page cannot be programmatically

                                 23                       determined;

                                 24                   l. When a component receives focus, it may initiate a change in context;

                                 25                   m. Changing the setting of a user interface component may automatically cause a

                                 26                       change of context where the user has not been advised before using the

                                 27                       component;

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                                  1                   n. Labels or instructions are not provided when content requires user input;

                                  2                   o. In content which is implemented by using markup languages, elements do not

                                  3                       have complete start and end tags, elements are not nested according to their

                                  4                       specifications, elements may contain duplicate attributes and/or any IDs are

                                  5                       not unique;

                                  6                   p. Inaccessible Portable Document Format (PDFs) ; and,

                                  7                   q. The name and role of all User Interface elements cannot be programmatically

                                  8                       determined; items that can be set by the user cannot be programmatically set;

                                  9                       and/or notification of changes to these items is not available to user agents,

                                 10                       including assistive technology.

                                 11                                     FACTUAL BACKGROUND

                                 12           22.     Defendant offers the https://www.kfc.com/ website, to the public. The website

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                                       offers features which should allow all consumers to access the goods and services which
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                                 14    Defendant offers in connection with its physical locations. The goods and services offered by

                                 15    Defendant include, but are not limited to the following, which allow consumers to: find

                                 16    information about catering, restaurant chain locations, promotions, nutrition calculator, food

                                 17    allergies and sensitivities tool; access full nutrition guide and variety of chicken including smoky

                                 18    mountain bbq, original recipe, extra crispy, popcorn, tenders, Nashville hot, Georgia Gold;

                                 19    sandwiches including crispy colonel, smoky mountain bbq, Nashville hot, chicken little and
                                 20    Georgia gold; sides including green beans, cole slaw, mac and cheese, corn, mashed potatoes and

                                 21    gravy, potato wedges, biscuits, pot pie, famous bowl; desserts including cookies, cinnabon dessert

                                 22    biscuits and cakes; sauces including finger lickin’ good sauce, honey bbq sauce, honey mustard,

                                 23    creamy buffalo, sweet n’ tangy and buttermilk ranch that are available for purchase online and in

                                 24    restaurant locations.

                                 25           23.     Based on information and belief, it is Defendant's policy and practice to deny

                                 26    Plaintiff and Class Members, along with other blind or visually-impaired users, access to

                                 27    Defendant’s website, and to therefore specifically deny the goods and services that are offered

                                 28    and integrated with Defendant’s restaurants. Due to Defendant's failure and refusal to remove
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                                  1    access barriers on its website, Plaintiff and other visually-impaired persons have been and are still

                                  2    being denied equal and full access to Defendant’s restaurants and the variety of chicken, side

                                  3    dishes and desserts offered to the public through Defendant’s Website.

                                  4    Defendant’s Barriers on Unruh Civil Rights Act. Cal. Civ. Code, § 51(f) Deny Plaintiff and

                                  5                                         Class Members’ Access

                                  6           24.     Plaintiff is a visually-impaired and legally blind person, who cannot use a

                                  7    computer without the assistance of screen-reading software. However, Plaintiff is a proficient

                                  8    user of the JAWS screen-reader as well as Mac’s VoiceOver and both use it to access the internet.

                                  9    Plaintiff has visited https://www.kfc.com/ on several separate occasions using the JAWS and/or

                                 10    VoiceOver screen-readers.

                                 11           25.     During Plaintiffs’ numerous visits to Defendant’s website, Plaintiff encountered

                                 12    multiple access barriers which denied Plaintiff full and equal access to the facilities, goods and

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                                       services offered to the public and made available to the public on Defendant’s website, and its
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                                 14    prior iterations. Due to the widespread access barriers Plaintiff and Class Members encountered

                                 15    on Defendant’s website, Plaintiff and Class Members have been deterred, on a regular basis, from

                                 16    accessing Defendant’s website. Similarly, the access barriers Plaintiff has encountered on

                                 17    Defendant’s website have deterred Plaintiff and Class Members from visiting Defendant’s brick-

                                 18    and-mortar restaurants.

                                 19           26.     While attempting to navigate Defendant’s website, Plaintiff and Class Members
                                 20    encountered multiple accessibility barriers for blind or visually-impaired people that include, but

                                 21    are not limited to, the following:

                                 22                   a. Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text is invisible

                                 23                       code embedded beneath a graphic or image on a website that is read to a user

                                 24                       by a screen-reader. For graphics or images to be fully accessible for screen-

                                 25                       reader users, it requires that alt-text be coded with each graphic or image so

                                 26                       that screen-reading software can speak the alt-text to describe the graphic or

                                 27                       image where a sighted user would just see the graphic or image. Alt-text does

                                 28                       not change the visual presentation, but instead a text box shows when the
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                                  1                       cursor hovers over the graphic or image. The lack of alt-text on graphics and

                                  2                       images prevents screen-readers from accurately vocalizing a description of the

                                  3                       image or graphic. As a result, Plaintiff and Class Members who are blind and

                                  4                       visually-impaired customers are unable to determine what chicken, side dishes

                                  5                       and desserts are available for purchase, or find Defendants restaurant locations,

                                  6                       or complete any purchases;

                                  7                   b. Empty Links that contain No Text causing the function or purpose of the link

                                  8                       to not be presented to the user. This can introduce confusion for keyboard and

                                  9                       screen-reader users;

                                 10                   c. Redundant Links where adjacent links go to the same URL address which

                                 11                       results in additional navigation and repetition for keyboard and screen-reader

                                 12                       users; and

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                                                      d. Linked Images missing alt-text, which causes problems if an image within a
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                                 14                       link does not contain any descriptive text and that image does not have alt-text.

                                 15                       A screen reader then has no content to present the user as to the function of the

                                 16                       link, including information or links for and contained in PDFs.

                                 17           27.     Recently in 2019, Plaintiff attempted to do business with Defendant on

                                 18    Defendant’s website. Plaintiff has visited prior iterations of the website https://www.kfc.com/ and

                                 19    also encountered barriers to access on Defendant’s website.
                                 20           28.     Despite past and recent attempts to do business with Defendant on its website, the

                                 21    numerous access barriers contained on the website and encountered by Plaintiff, has denied

                                 22    Plaintiff full and equal access to Defendant’s website. Plaintiff and Class Members, as a result of

                                 23    the barriers on Defendant’s website, continue to be deterred on a regular basis from accessing

                                 24    Defendant’s website. Likewise, based on the numerous access barriers Plaintiff and Class

                                 25    Members have been deterred and impeded from the full and equal enjoyment of goods and

                                 26    services offered in Defendant’s restaurants and from making purchases at such physical locations.

                                 27    ///

                                 28    ///
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                                  1                               Defendant Must Remove Barriers to Its Website

                                  2          29.     Due to the inaccessibility of the defendant’s website, blind and visually-impaired

                                  3   customers such as the Plaintiff, who need screen-readers, cannot fully and equally use or enjoy

                                  4   the facilities and services the defendant offers to the public on its website. The access barriers the

                                  5   Plaintiff has encountered have caused a denial of Plaintiffs’ full and equal access in the past, and

                                  6   now deter Plaintiff on a regular basis from accessing the website.

                                  7          30.     These access barriers on Defendant’s website have deterred Plaintiff from visiting

                                  8   Defendant’s physical locations, and enjoying them equal to sighted individuals because: Plaintiff

                                  9   was unable to find the location and hours of operation of Defendant’s locations on its website,

                                 10   preventing Plaintiff from visiting the locations to view and purchase products and/or services.

                                 11   Plaintiff and Class Members intend to visit the Defendant’s locations in the near future if Plaintiff

                                 12   and Class Members could access Defendant’s website.

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                                             31.     If the website was equally accessible to all, Plaintiff and Class Members could
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                                 14   independently navigate the website and complete a desired transaction, as sighted individuals do.

                                 15          32.     Plaintiff, through Plaintiffs’ attempts to use the website, have actual knowledge of

                                 16   the access barriers that make these services inaccessible and independently unusable by blind and

                                 17   visually-impaired people.

                                 18          33.     Because simple compliance with WCAG 2.0/WCAG 2.1 would provide Plaintiff

                                 19   and Class Members who are visually-impaired consumers with equal access to the website,

                                 20   Plaintiff and Class Members allege that Defendant engaged in acts of intentional discrimination,

                                 21   including, but not limited to, the following policies or practices: constructing and maintaining a

                                 22   website that is inaccessible to visually-impaired individuals, including Plaintiff and Class

                                 23   Members; failing to construct and maintain a website that is sufficiently intuitive so as to be

                                 24   equally accessible to visually-impaired individuals, including Plaintiff and Class Members; and

                                 25   failing to take actions to correct these access barriers in the face of substantial harm and

                                 26   discrimination to blind and visually-impaired consumers, such as Plaintiff and Class Members,

                                 27   as a member of a protected class.

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                                  1          34.     The Defendant uses standards, criteria or methods of administration that have the

                                  2   effect of discriminating or perpetuating the discrimination against others, as alleged herein.

                                  3          35.     The ADA expressly contemplates the injunctive relief that Plaintiff

                                  4   seeks in this action. In relevant part, the ADA requires:

                                  5          In the case of violations of … this title, injunctive relief shall include an order to
                                  6          alter facilities to make such facilities readily accessible to and usable by
                                             individuals with disabilities …. Where appropriate, injunctive relief shall also
                                  7          include requiring the … modification of a policy …. 42 U.S.C. § 12188(a)(2).

                                  8          36.     Because Defendant’s website has never been equally accessible, and because
                                  9   Defendant lacks a corporate policy that is reasonably calculated to cause the Defendant’s website
                                 10   to become and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seeks a
                                 11   permanent injunction requiring the defendant to retain a qualified consultant acceptable to
                                 12   Plaintiff to assist Defendant to comply with WCAG 2.0/WCAG 2.1 guidelines for Defendant’s
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                                      website. The website must be accessible for individuals with disabilities who use desktop
                                 14   computers, laptops, tablets, and smartphones.         Plaintiff and Class Members seek that this
                                 15   permanent injunction require Defendant to cooperate with the agreed-upon consultant to: train
                                 16   Defendant’s employees and agents who develop the website on accessibility compliance under
                                 17   the WCAG 2.0/WCAG 2.1 guidelines; regularly check the accessibility of the website under the
                                 18   WCAG 2.0/WCAG 2.1 guidelines; regularly test user accessibility by blind or vision-impaired
                                 19   persons to ensure that the defendant’s website complies under the WCAG 2.0/WCAG 2.1
                                 20   guidelines; and develop an accessibility policy that is clearly disclosed on the defendant’s website,
                                 21   with contact information for users to report accessibility-related problems and require that any
                                 22   third-party vendors who participate on the defendant’s website to be fully accessible to the
                                 23   disabled by conforming with WCAG 2.0/WCAG 2.1.
                                 24           37.    If Defendant’s website were accessible, Plaintiff and Class Members could
                                 25   independently access information about location addresses and hours, services offered and
                                 26   services available for online purchase.
                                 27   ///
                                 28   ///
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                                  1               38.   Although Defendant may currently have centralized policies regarding

                                  2   maintaining and operating Defendant’s website, Defendant lacks a plan and policy reasonably

                                  3   calculated to make Defendant’s website fully and equally accessible to, and independently usable

                                  4   by, blind and other visually-impaired consumers.

                                  5               39.   Defendant has, upon information and belief, invested substantial sums in

                                  6   developing and maintaining Defendant’s website and Defendant has generated significant

                                  7   revenue from Defendant’s website. These amounts are far greater than the associated cost of

                                  8   making Defendant’s website equally accessible to visually impaired customers. Plaintiff has also

                                  9   visited prior iterations of the Defendants website https://www.kfc.com/ and also encountered such

                                 10   barriers.

                                 11               40.   Without injunctive relief, Plaintiff and Class Members will continue to be unable

                                 12   to independently use Defendant’s website, violating their rights.

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                                                                       CLASS ACTION ALLEGATIONS
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                                 14               41.   Plaintiff, on behalf of himself and all others similarly situated, seeks to certify a

                                 15   nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2) (b)(3), the Nationwide class is initially

                                 16   defined as follows:

                                 17           all legally blind individuals who have attempted to access Defendant’s website by
                                              the use of a screen reading software during the applicable limitations period up to
                                 18           and including final judgment in this action.
                                 19           42.       The California class is initially defined as follows:
                                              all legally blind individuals in the State of California who have attempted to access
                                 20           Defendant’s website by the use of a screen reading software during the applicable
                                 21           limitations period up to and including final judgment in this action.

                                 22           43.       Excluded from each of the above Classes is Defendant, including any entity in
                                 23   which Defendant has a controlling interest, is a parent or subsidiary, or which is controlled by
                                 24   Defendant, as well as the officers, directors, affiliates, legal representatives, heirs, predecessors,
                                 25   successors, and assigns of Defendant. Also excluded are the judge and the court personnel in this
                                 26   case and any members of their immediate families. Plaintiff reserves the right to amend the Class
                                 27   definitions if discovery and further investigation reveal that the Classes should be expanded or
                                 28   otherwise modified.
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                                  1          44.     Numerosity. Fed. R. Civ. P. 23(a)(1). This action has been brought and may

                                  2   properly be maintained as a class action against Defendant under Rules 23(b)(1)(B) and 23(b)(3)

                                  3   of the Federal Rules of Civil Procedure. While the exact number and identities of other Class

                                  4   Members are unknown to Plaintiff at this time, Plaintiff is informed and believes that there are

                                  5   hundreds of thousands of Members in the Class. Based on the number of customers who have

                                  6   visited Defendant’s California restaurants, it is estimated that the Class is composed of more than

                                  7   10,000 persons. Furthermore, even if subclasses need to be created for these consumers, it is

                                  8   estimated that each subclass would have thousands of Members. The Members of the Class are

                                  9   so numerous that joinder of all Members is impracticable and the disposition of their claims in a

                                 10   class action rather than in individual actions will benefit the parties and the courts.

                                 11          45.     Typicality: Plaintiff and Class Members’ claims are typical of the claims of the

                                 12   Members of the Class as all Members of the Class are similarly affected by Defendant’s wrongful

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                                      conduct, as detailed herein.
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                                 14          46.     Adequacy: Plaintiff will fairly and adequately protect the interests of the Members

                                 15   of the Class in that they have no interests antagonistic to those of the other Members of the Class.

                                 16   Plaintiff has retained experienced and competent counsel.

                                 17          47.     Superiority: A class action is superior to other available methods for the fair and

                                 18   efficient adjudication of this controversy. Since the damages sustained by individual Class

                                 19   Members may be relatively small, the expense and burden of individual litigation makes it

                                 20   impracticable for the Members of the Class to individually seek redress for the wrongful conduct

                                 21   alleged herein. Furthermore, the adjudication of this controversy through a class action will avoid

                                 22   the potentially inconsistent and conflicting adjudications of the claims asserted herein. There will

                                 23   be no difficulty in the management of this action as a class action. If Class treatment of these

                                 24   claims were not available, Defendant would likely unfairly receive thousands of dollars or more

                                 25   in improper revenue.

                                 26          48.     Common Questions Predominate: Common questions of law and fact exist as to

                                 27   all Members of the Class and predominate over any questions solely affecting individual

                                 28   Members of the Class. Among the common questions of law and fact applicable to the Class are:
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                                  1                      i. Whether Defendant’s website, https://www.kfc.com/, is inaccessible to the

                                  2                          visually-impaired who use screen reading software to access internet

                                  3                          websites;

                                  4                      ii. Whether Plaintiff and Class Members have been unable to access

                                  5                          https://www.kfc.com/ through the use of screen reading software;

                                  6                     iii. Whether the deficiencies in Defendant’s website violate the Americans

                                  7                          with Disabilities Act of 1990, 42 U.S.C. § 12181 et seq.;

                                  8                     iv. Whether the deficiencies in Defendant’s website violate the California

                                  9                          Unruh Civil Rights Act, California Civil Code § 51 et seq.;

                                 10                      v. Whether, and to what extent, injunctive relief should be imposed on

                                 11                          Defendant to make https://www.kfc.com/ readily accessible to and usable

                                 12                          by visually-impaired individuals;

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                                                        vi. Whether Plaintiff and Class Members are entitled to recover statutory
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                                 14                          damages with respect to Defendant’s wrongful conduct; and

                                 15                    vii. Whether further legal and/or equitable relief should be granted by the Court

                                 16                          in this action.

                                 17          49.     The class is readily definable, and prosecution of this action as a Class action will

                                 18   reduce the possibility of repetitious litigation. Plaintiff knows of no difficulty which will be

                                 19   encountered in the management of this litigation which would preclude their maintenance of this
                                 20   matter as a Class action.

                                 21          50.     The prerequisites to maintaining a class action for injunctive relief or equitable

                                 22   relief pursuant to Rule 23(b)(2) are met, as Defendant has acted or refused to act on grounds

                                 23   generally applicable to the Class, thereby making appropriate final injunctive or equitable relief

                                 24   with respect to the Class as a whole.

                                 25          51.     The prerequisites to maintaining a class action for injunctive relief or equitable

                                 26   relief pursuant to Rule 23(b)(3) are met, as questions of law or fact common to the Class

                                 27   predominate over any questions affecting only individual Members; and a class action is superior

                                 28   to other available methods for fairly and efficiently adjudicating the controversy.
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                                  1          52.     The prosecution of separate actions by Members of the Class would create a risk

                                  2   of establishing inconsistent rulings and/or incompatible standards of conduct for Defendant.

                                  3   Additionally, individual actions may be dispositive of the interest of all Members of the Class,

                                  4   although certain Class Members are not parties to such actions.

                                  5          53.     Defendant’s conduct is generally applicable to the Class as a whole and Plaintiff

                                  6   seek, inter alia, equitable remedies with respect to the Class as a whole. As such, Defendant’s

                                  7   systematic policies and practices make declaratory relief with respect to the Class as a whole

                                  8   appropriate.

                                  9                                               COUNT I

                                 10    Violations of the Americans With Disabilities Act, 42 U.S.C. § 12181 et seq. (On Behalf of

                                 11                       Plaintiff, the Nationwide Class and the California Class)

                                 12          54.     Plaintiff alleges and incorporates herein by reference each and every allegation

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                                      contained in paragraphs 1 through 53, inclusive, of this Complaint as if set forth fully herein.
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                                 14          55.     Section 302(a) of Title III of the ADA, 42 U.S.C. § 12181 et seq., provides: “No

                                 15   individual shall be discriminated against on the basis of disability in the full and equal enjoyment

                                 16   of the goods, services, facilities, privileges, advantages, or accommodations of any place of public

                                 17   accommodation by any person who owns, leases (or leases to), or operates a place of public

                                 18   accommodation.” 42 U.S.C. § 12182(a).

                                 19          56.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also
                                 20   includes, among other things: “a failure to make reasonable modifications in policies, practices,

                                 21   or procedures, when such modifications are necessary to afford such goods, services, facilities,

                                 22   privileges, advantages, or accommodations to individuals with disabilities, unless the entity can

                                 23   demonstrate that making such modifications would fundamentally alter the nature of such goods,

                                 24   services, facilities, privileges, advantages or accommodations”; and “a failure to take such steps

                                 25   as may be necessary to ensure that no individual with a disability is excluded, denied services,

                                 26   segregated or otherwise treated differently than other individuals because of the absence of

                                 27   auxiliary aids and services, unless the entity can demonstrate that taking such steps would

                                 28   fundamentally alter the nature of the good, service, facility, privilege, advantage, or
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                                  1   accommodation being offered or would result in an undue burden”. 42 U.S.C. §

                                  2   12182(b)(2)(A)(ii)-(iii). “A public accommodation shall take those steps that may be necessary

                                  3   to ensure that no individual with a disability is excluded, denied services, segregated or otherwise

                                  4   treated differently than other individuals because of the absence of auxiliary aids and services,

                                  5   unless the public accommodation can demonstrate that taking those steps would fundamentally

                                  6   alter the nature of the goods, services, facilities, privileges, advantages, or accommodations being

                                  7   offered or would result in an undue burden, i.e., significant difficulty or expense.” 28 C.F.R. §

                                  8   36.303(a). In order to be effective, auxiliary aids and services must be provided in accessible

                                  9   formats, in a timely manner, and in such a way as to protect the privacy and independence of the

                                 10   individual with a disability.” 28 C.F.R. § 36.303(c)(1)(ii).

                                 11          57.        Defendant’s restaurant locations are “public accommodations” within the meaning

                                 12   of 42 U.S.C. § 12181 et seq. Defendant generates millions of dollars in revenue from the sale of

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                                      its amenities and services, privileges, advantages, and accommodations in California through its
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                                 14   locations and related services, privileges, advantages, and accommodations and its Website,

                                 15   https://www.kfc.com/ is a service, privilege, advantage, and accommodation provided by

                                 16   Defendant that is inaccessible to customers who are visually-impaired like Plaintiff. This

                                 17   inaccessibility denies visually-impaired customers full and equal enjoyment of and access to the

                                 18   facilities and services, privileges, advantages, and accommodations that Defendant made

                                 19   available to the non-disabled public. Defendant is violating the Americans with Disabilities Act,
                                 20   42 U.S.C. § 12181 et seq., in that Defendant denies visually-impaired customers the services,

                                 21   privileges, advantages, and accommodations provided by https://www.kfc.com/.                  These

                                 22   violations are ongoing.

                                 23          58.        Defendant’s actions constitute intentional discrimination against Plaintiff and

                                 24   Class Members on the basis of a disability in violation of the Americans with Disabilities Act, 42

                                 25   U.S.C. § 12181 et seq. in that: Defendant has constructed a website that is inaccessible to Plaintiff

                                 26   and Class Members; maintains the website in this inaccessible form; and has failed to take

                                 27   adequate actions to correct these barriers even after being notified of the discrimination that such

                                 28   barriers cause.
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                                  1            59.   Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth

                                  2   and incorporated therein, Plaintiff request relief as set forth below.

                                  3                                               COUNT II

                                  4    Violations of the Unruh Civil Rights Act, California Civil Code § 51 et seq. (On Behalf of

                                  5                                    Plaintiff and the California Class)

                                  6            60.   Plaintiff alleges and incorporates herein by reference each and every allegation

                                  7   contained in paragraphs 1 through 53, inclusive, of this Complaint as if set forth fully herein.

                                  8            61.   Defendant’s locations are “business establishments” within the meaning of the

                                  9   California Civil Code § 51 et seq. Defendant generates millions of dollars in revenue from the

                                 10   sale of its services in California through its restaurant locations and related services and

                                 11   https://www.kfc.com/is a service provided by Defendant that is inaccessible to customers who

                                 12   are visually-impaired like Plaintiff and Class Members. This inaccessibility denies visually-

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                                      impaired customers full and equal access to Defendant’s facilities and services that Defendant
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                                 14   makes available to the non-disabled public. Defendant is violating the Unruh Civil Rights Act,

                                 15   California Civil Code § 51 et seq., in that Defendant is denying visually-impaired customers the

                                 16   services provided by https://www.kfc.com/. These violations are ongoing.

                                 17            62.   Defendant’s actions constitute intentional discrimination against Plaintiff and

                                 18   Class Members on the basis of a disability in violation of the Unruh Civil Rights Act, Cal. Civil

                                 19   Code § 51 et seq. in that: Defendant has constructed a website that is inaccessible to Plaintiff and
                                 20   Class Members; maintains the website in this inaccessible form; and has failed to take adequate

                                 21   actions to correct these barriers even after being notified of the discrimination that such barriers

                                 22   cause.

                                 23            63.   Defendant is also violating the Unruh Civil Rights Act, California Civil Code § 51

                                 24   et seq. in that the conduct alleged herein likewise constitutes a violation of various provisions of

                                 25   the ADA, 42 U.S.C. § 12101 et seq. Section 51(f) of the California Civil Code provides that a

                                 26   violation of the right of any individual under the ADA shall also constitute a violation of the

                                 27   Unruh Civil Rights Act.

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                                  1            64.   The actions of Defendant were and are in violation of the Unruh Civil Rights Act,

                                  2   California Civil Code § 51 et seq., and, therefore, Plaintiff and Class Members are entitled to

                                  3   injunctive relief remedying the discrimination.

                                  4            65.   Plaintiff and Class Members are also entitled to statutory minimum damages

                                  5   pursuant to California Civil Code § 52 for each and every offense.

                                  6            66.   Plaintiff and Class Members are also entitled to reasonable attorneys’ fees and

                                  7   costs.

                                  8            67.   Plaintiff and Class Members are also entitled to a preliminary and permanent

                                  9   injunction enjoining Defendant from violating the Unruh Civil Rights Act, California Civil Code

                                 10   § 51 et seq., and requiring Defendant to take the steps necessary to make https://www.kfc.com/

                                 11   readily accessible to and usable by visually-impaired individuals.

                                 12                                       PRAYER FOR RELIEF

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                                               WHEREFORE, Plaintiff, individually and on behalf of all Class Members, respectfully
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                                 14   requests that the Court enter judgment in his favor and against Defendant as follows:

                                 15            A.    For an Order certifying the Nationwide Class and California Class as

                                 16                  defined herein and appointing Plaintiff and his Counsel to represent the

                                 17                  Nationwide Class and the California Class;

                                 18            B.    A preliminary and permanent injunction pursuant to 42 U.S.C. § 12188(a)(1) and

                                 19                  (2) and section 52.1 of the California Civil Code enjoining Defendant from
                                 20                  violating the Unruh Civil Rights Act and ADA and requiring Defendant to take

                                 21                  the steps necessary to make https://www.kfc.com/ readily accessible to and usable

                                 22                  by visually-impaired individuals;

                                 23            C.    An award of statutory minimum damages of $4,000 per offense per person

                                 24                  pursuant to section 52(a) of the California Civil Code.

                                 25            D.    For attorneys’ fees and expenses pursuant to California Civil Code §§ 52(a),

                                 26                  52.1(h), and 42 U.S.C. § 12205;

                                 27            E.    For pre-judgment interest to the extent permitted by law;

                                 28            F.    For costs of suit; and;
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                                  1           G.      For such other and further relief as the Court deems just and proper.

                                  2                                    DEMAND FOR JURY TRIAL

                                  3           Plaintiff, on behalf of himself and all others similarly situated, hereby demands a jury trial

                                  4   for all claims so triable.

                                  5
                                  6   Dated: June 26, 2019                                   Respectfully Submitted,

                                  7
                                                                                             /s/ Thiago M. Coelho
                                  8                                                          Thiago M. Coelho
                                  9                                                          Bobby Saadian
                                                                                             WILSHIRE LAW FIRM
                                 10                                                          Attorneys for Plaintiff and
                                                                                             Proposed Class
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